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Fill in this information to identify the case:

             KAir Enterprises LLC
Debtor name __________________________________________________________________

United States Bankruptcy Court for the: ______________________
                                         Northern                           Georgia
                                                               District of _________
                                                                              (State)
Case number (If known):   _________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


   Part 1:        Income



   1. Gross revenue from business

       None
      ✘
              Identify the beginning and ending dates of the debtor’s fiscal year, which       Sources of revenue                    Gross revenue
              may be a calendar year                                                           Check all that apply                  (before deductions and
                                                                                                                                     exclusions)

             From the beginning of the                                                           Operating a business
             fiscal year to filing date:     From ___________         to     Filing date         Other _______________________      $________________
                                                    MM / DD / YYYY


             For prior year:                 From ___________         to     ___________         Operating a business               $________________
                                                    MM / DD / YYYY            MM / DD / YYYY
                                                                                                 Other _______________________
             For the year before that:       From ___________         to     ___________         Operating a business
                                                                                                                                     $________________
                                                    MM / DD / YYYY            MM / DD / YYYY
                                                                                                 Other _______________________


   2. Non-business revenue
      Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
      from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      ✘ None
      

                                                                                               Description of sources of revenue     Gross revenue from each
                                                                                                                                     source
                                                                                                                                     (before deductions and
                                                                                                                                     exclusions)

             From the beginning of the
                                                                                               ___________________________          $________________
             fiscal year to filing date: From ___________             to     Filing date
                                                    MM / DD / YYYY



             For prior year:                 From ___________         to     ___________
                                                    MM / DD / YYYY            MM / DD / YYYY   ___________________________          $________________




             For the year before that:       From ___________         to     ___________
                                                    MM / DD / YYYY            MM / DD / YYYY   ___________________________          $________________




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                    KAir Enterprises LLC
Debtor             _______________________________________________________                         Case number (if known)_____________________________________
                   Name




   Part 2:          List Certain Transfers Made Before Filing for Bankruptcy

   3. Certain payments or transfers to creditors within 90 days before filing this case
         List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
         days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
         adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         
         ✘ None

                 Creditor’s name and address                         Dates         Total amount or value         Reasons for payment or transfer
                                                                                                                 Check all that apply
         3.1.

                 __________________________________________         ________       $_________________                 Secured debt
                 Creditor’s name
                                                                                                                      Unsecured loan repayments
                 __________________________________________
                 Street                                             ________                                          Suppliers or vendors
                 __________________________________________                                                           Services
                 __________________________________________
                 City                          State    ZIP Code
                                                                    ________                                          Other _______________________________
                   
         3.2.

                 __________________________________________         ________       $_________________                 Secured debt
                 Creditor’s name
                                                                                                                      Unsecured loan repayments
                 __________________________________________
                 Street                                             ________                                          Suppliers or vendors
                 __________________________________________                                                           Services
                 __________________________________________
                 City                          State    ZIP Code
                                                                    ________                                          Other _______________________________


   4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
         List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
         guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
         $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
         Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
         general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
         the debtor. 11 U.S.C. § 101(31).

          None
                 Insider’s name and address                          Dates         Total amount or value        Reasons for payment or transfer
         4.1.
                 ManaAir LLC
                 __________________________________________
                                                                   2023-03-28
                                                                   _________        $1,000                       Tax payments
                                                                                                               ___________________________________________
                                                                                  $__________________
                 Insider’s name
                 204 Wilton Dr
                 __________________________________________        _________                                   ___________________________________________
                 Street
                 __________________________________________        _________                                   ___________________________________________
                  Decatur                GA        30030
                 __________________________________________
                 City                          State    ZIP Code


                 Relationship to debtor
                 __________________________________________


         4.2.
                 Subodh Karnik
                 __________________________________________
                                                                   2023-07-07
                                                                   _________        $17,317.44
                                                                                  $__________________
                                                                                                                 Ordinary course reimbursements
                                                                                                               ___________________________________________
                 Insider’s name
                 204 Wilton Dr
                 __________________________________________        _________                                   ___________________________________________
                 Street
                 __________________________________________        _________                                   ___________________________________________
                 Decatur                 GA        30030
                 __________________________________________
                 City                          State    ZIP Code



                 Relationship to debtor

                 __________________________________________



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Debtor             _______________________________________________________
                    KAir Enterprises LLC                                                                   Case number (if known)_____________________________________
                   Name




   5. Repossessions, foreclosures, and returns
         List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
         sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

         
         ✘ None

                Creditor’s name and address                           Description of the property                                   Date               Value of property
         5.1.

                __________________________________________            ___________________________________________                   ______________     $___________
                Creditor’s name
                __________________________________________            ___________________________________________
                Street
                __________________________________________            ___________________________________________
                __________________________________________
                City                          State     ZIP Code

         5.2.

                __________________________________________            ___________________________________________                   _______________      $___________
                Creditor’s name
                __________________________________________            ___________________________________________
                Street
                __________________________________________            ___________________________________________
                __________________________________________
                City                          State     ZIP Code


   6. Setoffs
         List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
         the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
         
         ✘ None

                 Creditor’s name and address                            Description of the action creditor took                     Date action was       Amount
                                                                                                                                    taken

                 __________________________________________            ___________________________________________                _______________      $___________
                 Creditor’s name
                 __________________________________________            ___________________________________________
                 Street
                 __________________________________________
                 __________________________________________           Last 4 digits of account number: XXXX– __ __ __ __
                 City                          State     ZIP Code


    Part 3:            Legal Actions or Assignments

   7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
         List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
         was involved in any capacity—within 1 year before filing this case.

         
         ✘ None
                 Case title                                 Nature of case                           Court or agency’s name and address                 Status of case

         7.1.
                 _________________________________          ______________________________          __________________________________________           Pending
                                                                                                    Name
                                                                                                                                                         On appeal
                                                                                                    __________________________________________
                 Case number                                                                        Street                                               Concluded
                                                                                                    __________________________________________
                 _________________________________                                                  __________________________________________
                                                                                                    City                  State             ZIP Code
                  

                 Case title                                                                           Court or agency’s name and address
                                                                                                                                                         Pending
         7.2.
                 _________________________________          ______________________________          __________________________________________           On appeal
                                                                                                    Name
                                                                                                    __________________________________________
                                                                                                                                                         Concluded
                 Case number
                                                                                                    Street
                                                                                                    __________________________________________
                 _________________________________
                                                                                                    __________________________________________
                                                                                                    City                          State     ZIP Code


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Debtor             _______________________________________________________
                    KAir Enterprises LLC                                                                Case number (if known)_____________________________________
                   Name




   8. Assignments and receivership
         List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
         hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
         
         ✘ None
                  Custodian’s name and address                         Description of the property                        Value

                 __________________________________________            ______________________________________             $_____________
                 Custodian’s name
                                                                       Case title                                         Court name and address
                 __________________________________________
                 Street
                                                                      ______________________________________            __________________________________________
                 __________________________________________                                                             Name
                 __________________________________________            Case number                                      __________________________________________
                 City                          State     ZIP Code                                                       Street
                                                                      ______________________________________            __________________________________________
                                                                       Date of order or assignment                      __________________________________________
                                                                                                                        City                 State               ZIP Code

                                                                      ______________________________________

   Part 4:             Certain Gifts and Charitable Contributions

   9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
         of the gifts to that recipient is less than $1,000
         
         ✘ None
                 Recipient’s name and address                          Description of the gifts or contributions                   Dates given           Value


         9.1.
                __________________________________________             ___________________________________________                 _________________   $__________
                Recipient’s name
                __________________________________________             ___________________________________________
                Street
                __________________________________________
                __________________________________________
                City                          State     ZIP Code


                  Recipient’s relationship to debtor
                  __________________________________________


                __________________________________________             ___________________________________________                 _________________   $__________
         9.2. Recipient’s name

                __________________________________________             ___________________________________________
                Street
                __________________________________________
                __________________________________________
                City                          State     ZIP Code

                  Recipient’s relationship to debtor
                  __________________________________________


   Part 5:             Certain Losses

   10. All losses from fire, theft, or other casualty within 1 year before filing this case.

         
         ✘ None
                 Description of the property lost and how the loss     Amount of payments received for the loss                    Date of loss        Value of property
                 occurred                                              If you have received payments to cover the loss, for                            lost
                                                                       example, from insurance, government compensation, or
                                                                       tort liability, list the total received.
                                                                       List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                       Assets – Real and Personal Property).

                 ___________________________________________           ___________________________________________                 _________________   $__________
                 ___________________________________________


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Debtor          _______________________________________________________
                 KAir Enterprises LLC                                                            Case number (if known)_____________________________________
                Name




   Part 6:       Certain Payments or Transfers

   11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
         the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
         seeking bankruptcy relief, or filing a bankruptcy case.

         
         ✘ None
              Who was paid or who received the transfer?          If not money, describe any property transferred          Dates               Total amount or
                                                                                                                                               value

              __________________________________________
     11.1.                                                        ___________________________________________
                                                                                                                           ______________       $_________
              Address
                                                                  ___________________________________________
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                        State      ZIP Code


              Email or website address
              _________________________________

              Who made the payment, if not debtor?


              __________________________________________


              Who was paid or who received the transfer?          If not money, describe any property transferred          Dates               Total amount or
                                                                                                                                               value


     11.2.    __________________________________________          ___________________________________________
                                                                                                                           ______________       $_________
              Address                                             ___________________________________________
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                        State      ZIP Code

              Email or website address
              __________________________________________

              Who made the payment, if not debtor?

              __________________________________________


   12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
         a self-settled trust or similar device.
         Do not include transfers already listed on this statement.

         
         ✘ None

              Name of trust or device                             Describe any property transferred                         Dates transfers     Total amount or
                                                                                                                            were made           value


              __________________________________________          ___________________________________________               ______________       $_________

              Trustee                                             ___________________________________________
              __________________________________________




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                 KAir Enterprises LLC
Debtor          _______________________________________________________                             Case number (if known)_____________________________________
                Name




   13. Transfers not already listed on this statement
         List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
         within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
         Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


         
         ✘ None

              Who received transfer?                                 Description of property transferred or payments received   Date transfer      Total amount or
                                                                     or debts paid in exchange                                  was made           value



     13.1.    __________________________________________             ___________________________________________                ________________    $_________

                                                                     ___________________________________________
              Address
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                         State      ZIP Code


              Relationship to debtor

              __________________________________________




              Who received transfer?
                                                                     ___________________________________________                ________________    $_________

     13.2.    __________________________________________             ___________________________________________

              Address
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                         State      ZIP Code


              Relationship to debtor

              __________________________________________



   Part 7:       Previous Locations

   14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

         
         ✘ Does not apply
              Address                                                                                                Dates of occupancy


     14.1.     _______________________________________________________________________                               From       ____________       To   ____________
              Street
              _______________________________________________________________________
              _______________________________________________________________________
              City                                               State         ZIP Code


     14.2.     _______________________________________________________________________                               From       ____________       To   ____________
              Street
              _______________________________________________________________________
              _______________________________________________________________________
              City                                               State         ZIP Code


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Debtor            KAir Enterprises LLC
                 _______________________________________________________                              Case number (if known)_____________________________________
                 Name




   Part 8:            Health Care Bankruptcies

   15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          diagnosing or treating injury, deformity, or disease, or
          providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
         ✘
          Yes. Fill in the information below.
               Facility name and address                          Nature of the business operation, including type of services the              If debtor provides meals
                                                                  debtor provides                                                               and housing, number of
                                                                                                                                                patients in debtor’s care

     15.1.     ________________________________________           ___________________________________________________________                   ____________________
               Facility name
                                                                  ____________________________________________________________
               ________________________________________
               Street                                             Location where patient records are maintained (if different from facility     How are records kept?
                                                                  address). If electronic, identify any service provider.
               ________________________________________
                                                                                                                                                Check all that apply:
                                                                  ____________________________________________________________
               ________________________________________
               City                   State        ZIP Code       ____________________________________________________________
                                                                                                                                                 Electronically
                                                                                                                                                Paper

               Facility name and address                          Nature of the business operation, including type of services the              If debtor provides meals
                                                                  debtor provides                                                               and housing, number of
                                                                                                                                                patients in debtor’s care

     15.2.     ________________________________________           ___________________________________________________________                   ____________________
               Facility name
                                                                  ___________________________________________________________
               ________________________________________
               Street                                             Location where patient records are maintained (if different from facility     How are records kept?
                                                                  address). If electronic, identify any service provider.
               ________________________________________
                                                                                                                                                Check all that apply:
                                                                  ____________________________________________________________
               ________________________________________
               City                   State        ZIP Code       ____________________________________________________________
                                                                                                                                                 Electronically
                                                                                                                                                Paper

   Part 9:            Personally Identifiable Information

   16. Does the debtor collect and retain personally identifiable information of customers?

         
         ✘ No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                      Does the debtor have a privacy policy about that information?
                
                  No
                  Yes
   17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
         pension or profit-sharing plan made available by the debtor as an employee benefit?

         
         ✘ No. Go to Part 10.
         q Yes. Does the debtor serve as plan administrator?
                 No. Go to Part 10.
                 Yes. Fill in below:
                           Name of plan                                                                             Employer identification number of the plan

                           _______________________________________________________________________                  EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___

                         Has the plan been terminated?
                          No
                          Yes

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                 KAir Enterprises LLC
Debtor           _______________________________________________________                             Case number (if known)_____________________________________
                 Name




   Part 10:           Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

   18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
         moved, or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
         brokerage houses, cooperatives, associations, and other financial institutions.

         
         ✘ None
               Financial institution name and address           Last 4 digits of account        Type of account             Date account was        Last balance
                                                                number                                                      closed, sold, moved,    before closing or
                                                                                                                            or transferred          transfer

     18.1.     ______________________________________           XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
               Name
                                                                                                 Savings
               ______________________________________
               Street                                                                            Money market
               ______________________________________
                                                                                                 Brokerage
               ______________________________________
               City                  State        ZIP Code                                       Other______________

     18.2.     ______________________________________           XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
               Name
                                                                                                 Savings
               ______________________________________
               Street                                                                            Money market
               ______________________________________
                                                                                                 Brokerage
               ______________________________________
               City                  State        ZIP Code                                       Other______________

   19. Safe deposit boxes
         List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

          None
         ✘

                 Depository institution name and address        Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                          still have it?

               ______________________________________          __________________________________          __________________________________              No
               Name
                                                               __________________________________          __________________________________
                                                                                                                                                           Yes
               ______________________________________
               Street                                          __________________________________          __________________________________             
               ______________________________________
               ______________________________________           Address                                                                                   
               City                  State        ZIP Code
                                                               ____________________________________
                                                               ____________________________________

  20. Off-premises storage
         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
         which the debtor does business.

      
      ✘ None

                 Facility name and address                      Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                          still have it?
                                                                                                                                                            No
               ______________________________________          __________________________________          __________________________________
               Name
                                                                                                                                                            Yes
               ______________________________________
                                                               __________________________________          __________________________________              
               Street                                          __________________________________          __________________________________
               ______________________________________
               ______________________________________            Address                                                                                   
               City                  State        ZIP Code
                                                                ________________________________
                                                                _________________________________



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Debtor          _______________________________________________________                               Case number (if known)_____________________________________
                Name




   Part 11:          Property the Debtor Holds or Controls That the Debtor Does Not Own

   21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
         trust. Do not list leased or rented property.

         
         ✘ None

              Owner’s name and address                              Location of the property                Description of the property                 Value

                                                                                                                                                        $_______
              ______________________________________                __________________________________      __________________________________
              Name
                                                                    __________________________________      __________________________________
              ______________________________________
              Street                                                __________________________________      __________________________________
              ______________________________________
              ______________________________________
              City                     State      ZIP Code




   Part 12:          Details About Environmental Information

   For the purpose of Part 12, the following definitions apply:
    Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
         regardless of the medium affected (air, land, water, or any other medium).
    Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
         formerly owned, operated, or utilized.
    Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
         or a similarly harmful substance.

   Report all notices, releases, and proceedings known, regardless of when they occurred.


   22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


         
         ✘ No
          Yes. Provide details below.
              Case title                                     Court or agency name and address              Nature of the case                       Status of case

              _________________________________
                                                             _____________________________________         __________________________________        Pending
              Case number                                    Name
                                                                                                           __________________________________
                                                                                                                                                     On appeal
              _________________________________
                                                             _____________________________________
                                                             Street
                                                                                                                                                     Concluded
                                                                                                           __________________________________
                                                             _____________________________________                                                  
                                                             _____________________________________
                                                             City                    State     ZIP Code




   23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
         environmental law?

         
         ✘ No
          Yes. Provide details below.
             Site name and address                           Governmental unit name and address            Environmental law, if known             Date of notice


              __________________________________             _____________________________________         __________________________________       __________
              Name                                           Name
                                                                                                           __________________________________
              __________________________________             _____________________________________
              Street                                         Street                                        __________________________________
              __________________________________             _____________________________________
              __________________________________             _____________________________________
              City                     State   ZIP Code      City                   State      ZIP Code




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                KAir Enterprises LLC
Debtor          _______________________________________________________                            Case number (if known)_____________________________________
                Name




   24. Has the debtor notified any governmental unit of any release of hazardous material?
         
         ✘ No
          Yes. Provide details below.
             Site name and address                        Governmental unit name and address            Environmental law, if known                Date of notice


              __________________________________          ______________________________________        __________________________________           __________
              Name                                        Name
                                                                                                        __________________________________
              __________________________________          ______________________________________
              Street                                      Street                                        __________________________________
              __________________________________          ______________________________________
              __________________________________          ______________________________________
              City                     State   ZIP Code   City                 State        ZIP Code




   Part 13:            Details About the Debtor’s Business or Connections to Any Business


   25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
         Include this information even if already listed in the Schedules.

          None

              Business name and address                    Describe the nature of the business                   Employer Identification number
                                                                                                                 Do not include Social Security number or ITIN.

               ManaAir LLC                                  Debtor owns 50.1% in ManaAir LLC                     EIN: ___
                                                                                                                       83 ___ – ___   ___ ___ ___ ___ ___ ___
                                                                                                                                 2864888
     25.1.    __________________________________           _____________________________________________
              Name                                                                                               Dates business existed
               1659 E. Clifton Rd NE                       _____________________________________________
              __________________________________
              Street                                       _____________________________________________
              __________________________________                                                                      11/16/2018
                                                                                                                 From _______         To _______
                                                                                                                                          present

              Atlanta          GA         30307
              __________________________________
              City                     State   ZIP Code




              Business name and address                    Describe the nature of the business                   Employer Identification number
     25.2.                                                                                                       Do not include Social Security number or ITIN.

              __________________________________           _____________________________________________         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
              Name
                                                                                                                 Dates business existed
                                                           _____________________________________________
              __________________________________
              Street                                       _____________________________________________
              __________________________________                                                                 From _______         To _______
              __________________________________
              City                     State   ZIP Code



              Business name and address                    Describe the nature of the business                   Employer Identification number
                                                                                                                 Do not include Social Security number or ITIN.

     25.3.    __________________________________           _____________________________________________         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
              Name
                                                           _____________________________________________         Dates business existed
              __________________________________
              Street                                       _____________________________________________
              __________________________________
              __________________________________                                                                 From _______         To _______
              City                     State   ZIP Code




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Debtor                KAir Enterprises LLC
                     _______________________________________________________                          Case number (if known)_____________________________________
                     Name




   26. Books, records, and financial statements
         26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
                 Name and address                                                                                   Dates of service

                                                                                                                          2019            present
                     Crowe LLP c/o Jim Parker and Dobrinka Daniels                                                  From _______       To _______
     26a.1.      __________________________________________________________________________________
                 Name
                  3399 Peachtree Road NE, Suite 700
                 __________________________________________________________________________________
                 Street
                 __________________________________________________________________________________
                 Atlanta                                            GA
                 __________________________________________________________________________________
                                                                                  30326-2832

                 City                                                 State                ZIP Code


                 Name and address                                                                                   Dates of service

                                                                                                                    From _______       To _______
     26a.2.      __________________________________________________________________________________
                 Name
                 __________________________________________________________________________________
                 Street
                 __________________________________________________________________________________
                 __________________________________________________________________________________
                 City                                                 State                ZIP Code



         26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
                statement within 2 years before filing this case.
                 None
                        Name and address                                                                            Dates of service


                            Crowe LLP c/o Jim Parker and Dobrinka Daniels                                           From _______
                                                                                                                          2019
                                                                                                                                       To _______
                                                                                                                                          present
           26b.1.       ______________________________________________________________________________
                        Name
                        3399 Peachtree Road NE, Suite 700
                        ______________________________________________________________________________
                        Street
                        ______________________________________________________________________________
                         Atlanta                                    GA
                        ______________________________________________________________________________
                                                                                        30326-2832
                        City                                                State              ZIP Code


                        Name and address                                                                            Dates of service

                                                                                                                    From _______       To _______
           26b.2.       ______________________________________________________________________________
                        Name
                        ______________________________________________________________________________
                        Street
                        ______________________________________________________________________________
                        ______________________________________________________________________________
                        City                                                State              ZIP Code



         26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                        Name and address                                                                            If any books of account and records are
                                                                                                                    unavailable, explain why

                            Crowe LLP c/o Jim Parker and Dobrinka Daniels
            26c.1.      ______________________________________________________________________________              _________________________________________
                        Name
                        3399 Peachtree Road NE, Suite 700                                                           _________________________________________
                        ______________________________________________________________________________
                        Street                                                                                      _________________________________________
                        ______________________________________________________________________________
                        Atlanta                                      GA
                        ______________________________________________________________________________
                                                                                       30326-2832

                        City                                                State              ZIP Code



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                      KAir Enterprises LLC
Debtor                _______________________________________________________                       Case number (if known)_____________________________________
                      Name




                         Name and address                                                                         If any books of account and records are
                                                                                                                  unavailable, explain why


             26c.2.      ______________________________________________________________________________           _________________________________________
                         Name
                                                                                                                  _________________________________________
                         ______________________________________________________________________________
                         Street                                                                                   _________________________________________
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code



         26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
              within 2 years before filing this case.

                
                ✘ None


                         Name and address


             26d.1.      ______________________________________________________________________________
                         Name
                         ______________________________________________________________________________
                         Street
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code


                         Name and address


             26d.2.      ______________________________________________________________________________
                         Name
                         ______________________________________________________________________________
                         Street
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code




   27. Inventories

         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
    
    ✘ No
    Yes. Give the details about the two most recent inventories.


                 Name of the person who supervised the taking of the inventory                        Date of      The dollar amount and basis (cost, market, or
                                                                                                      inventory    other basis) of each inventory


                ______________________________________________________________________               _______      $___________________

                 Name and address of the person who has possession of inventory records


     27.1.       ______________________________________________________________________
                Name
                ______________________________________________________________________
                Street
                ______________________________________________________________________
                ______________________________________________________________________
                City                                                     State        ZIP Code




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Debtor          _______________________________________________________
                KAir Enterprises LLC                                                             Case number (if known)_____________________________________
                Name




              Name of the person who supervised the taking of the inventory                       Date of           The dollar amount and basis (cost, market, or
                                                                                                  inventory         other basis) of each inventory

              ______________________________________________________________________              _______       $___________________

              Name and address of the person who has possession of inventory records


     27.2.    ______________________________________________________________________
              Name
              ______________________________________________________________________
              Street
              ______________________________________________________________________
              ______________________________________________________________________
              City                                                     State          ZIP Code


   28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
         people in control of the debtor at the time of the filing of this case.

              Name                                 Address                                               Position and nature of any             % of interest, if any
                                                                                                         interest
              Subodh Karnik
              ____________________________         204 Wilton Dr, Decatur GA 30030
                                                   _____________________________________________         Owner/Operator
                                                                                                         ____________________________            100%
                                                                                                                                                 _______________

              ____________________________         _____________________________________________         ____________________________            _______________

              ____________________________         _____________________________________________         ____________________________            _______________

              ____________________________         _____________________________________________         ____________________________            _______________

              ____________________________         _____________________________________________         ____________________________            _______________

   29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
         of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    
    ✘ No
    Yes. Identify below.
              Name                                 Address                                                Position and nature of          Period during which
                                                                                                          any interest                    position or interest was
                                                                                                                                          held
              ____________________________         _____________________________________________          ______________________         From _____ To _____

              ____________________________         _____________________________________________          ______________________         From _____ To _____

              ____________________________         _____________________________________________          ______________________         From _____ To _____

              ____________________________         _____________________________________________          ______________________         From _____ To _____

   30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
         bonuses, loans, credits on loans, stock redemptions, and options exercised?
    
    ✘ No
    Yes. Identify below.
              Name and address of recipient                                              Amount of money or                   Dates              Reason for
                                                                                         description and value of                                providing the value
                                                                                         property


     30.1.    ______________________________________________________________              _________________________           _____________       ____________
              Name
              ______________________________________________________________
              Street                                                                                                         _____________
              ______________________________________________________________
              ______________________________________________________________                                                 _____________
              City                                     State           ZIP Code

              Relationship to debtor                                                                                         _____________

              ______________________________________________________________                                                 _____________

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